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                                   No. 23-10362

            UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

                   ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                                                     Plaintiff-Appellees,
                                      v.

                  U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                                                Defendants-Appellants.

On Appeal from the United States District Court for the Northern District of Texas,
               No. 2:22-cv-00223, Judge Matthew J. Kacsmaryk

 BRIEF OF FORMER U.S. DEPARTMENT OF JUSTICE OFFICIALS AS
AMICI CURIAE SUPPORTING APPELLANTS’ MOTIONS TO STAY THE
          DISTRICT COURT RULING PENDING APPEAL


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April 11, 2023
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       SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS

             Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug
                               Administration, et al.

                                   No. 23-10362

      The undersigned counsel of record certifies that—in addition to the persons

and entities listed in defendants-appellants’ and intervenor-appellant’s Certificates

of Interested Persons—the following listed persons and entities as described in the

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                          STATEMENT OF INTEREST1

       Amici are 55 former high-ranking U.S. Department of Justice officials who

served in administrations of both major parties, including U.S. Attorneys General,

Deputy Attorneys General, Assistant Attorneys General, and U.S. Attorneys.

Amici held responsibility for enforcing federal criminal laws, including the

Comstock laws, 18 U.S.C. §§1461-1462, and represented the United States in

criminal matters in all levels of the Judiciary around the country. A full list of

amici begins at page i above.

       Amici hold diverse views regarding the moral and jurisprudential questions

surrounding abortion, but agree the district court erroneously assumed that the

Food & Drug Administration was authorized to consider, interpret, and apply

federal criminal laws as part of its new-drug approval process, and gravely

misinterpreted the Comstock laws, expanding their scope beyond Congress’s

intent. Given the seriousness of the district court’s errors in rejecting the

interpretation of DOJ, the sole agency responsible for prosecuting violations of the

Comstock laws, amici urge this Court to grant appellants’ motions for stay pending

appeal, to facilitate orderly resolution of these questions.




1
     No party, party’s counsel, or person other than the amici curiae, their
members, and counsel who authored this brief in whole or in part contributed
money intended to fund preparing or submitting this brief.

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                                INTRODUCTION

      The Court should stay the district court’s order pending appeal. The

government and Danco Laboratories’s appeals of the order are likely to succeed.

Contrary to the district court’s ruling, the scope of the Comstock laws is irrelevant

to the FDA’s mifepristone actions. Regardless, FDA’s actions accord with the

Comstock laws—both under the court’s broad (but incorrect) interpretation and

under the narrow (and correct) interpretation adopted uniformly by the circuits and

by DOJ, in both its briefs and a prior memorandum issued by its Office of Legal

Counsel, see Application of the Comstock Act to the Mailing of Prescription Drugs

That Can Be Used for Abortions, 46 Op. O.L.C. 2 (Dec. 23, 2022). This brief

further analyzes of the relevance and meaning of the Comstock laws.

      The balance of equities also requires a stay. The court’s revocation of

mifepristone’s decades-old approval exposes countless women to serious health

risks and impedes their access to essential medical care. It abruptly throws

suppliers, distributors, and prescribers of mifepristone into chaos. Based on

amici’s extensive experience developing policy for and enforcing the federal

criminal laws, amici believe the court’s ruling is wrong and creates baseless

confusion regarding the effect of scores of federal criminal laws on FDA drug

approvals. The ruling places FDA in the impracticable position of having to

identify and account for every potentially applicable legal restriction when



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reviewing drug applications, even those it has no responsibility for, or expertise in,

administering, and in the untenable position of navigating conflicting court orders,

see Order Granting in Part Plaintiff’s Motion for Preliminary Injunction,

Washington v. FDA, No. 1:23-cv-03026 (E.D. Wash. Apr. 7, 2023), ECF #80. 2

                                   ARGUMENT

I.      WHETHER THE COMSTOCK LAWS LIMIT THE DISTRIBUTION OF
        MIFEPRISTONE IS IRRELEVANT TO THE VALIDITY OF FDA’S 2021
        ACTIONS

        The court concluded that FDA’s 2021 actions, which eliminated the in-

person dispensing requirement, are invalid because (the court said) the Comstock

laws “prohibit the mailing” of mifepristone. Op.32. But the court never explained

why the Comstock laws affect those actions’ validity, and with good reason: the

Comstock laws are irrelevant to the validity of FDA’s actions, however those laws

are interpreted. FDA’s charge is to determine whether a drug is safe and effective

under the proposed label’s conditions of use; it has no power or duty to account for

any potentially applicable restrictions in the countless laws it does not administer.

FDA’s 2021 actions accord with that limited statutory charge.




2
     Although the district court’s analysis of the Comstock laws addressed the
FDA’s 2021 actions, this brief’s arguments apply equally to the other challenged
FDA actions.

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      A.     FDA Had No Power Or Duty To Account For The Comstock
             Laws

      Like any agency, FDA has only the authority that Congress granted it. E.g.,

FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 126, 161 (2000).

Congress specified that FDA serves as a limited gatekeeper: FDA determines only

whether a drug is safe and effective for the indicated use, and that determination is

only a threshold requirement for the drug’s introduction into interstate commerce.

FDA has no authority, and thus no duty, to account for any restrictions imposed by

laws it does not administer. Accounting for such restrictions—“factors which

Congress has not intended [FDA] to consider”—would render FDA’s actions

invalid. Motor Vehicle Manufacturers Ass’n v. State Farm Mutual Automobile

Insurance Co., 463 U.S. 29, 43 (1983).

      The Food, Drug, and Cosmetic Act (“FDCA”) provides that FDA’s approval

is merely a necessary condition for introducing a new drug into interstate

commerce: “No person shall introduce … into interstate commerce any new drug,

unless” FDA has issued “an approval of an application … with respect to such

drug.” 21 U.S.C. §355(a) (emphasis added); see also, e.g., Mutual Pharmaceutical

Co. v. Bartlett, 570 U.S. 472, 476 (2013); Wyeth v. Levine, 555 U.S. 555, 592

(2009) (Thomas, J., concurring).

      In deciding whether to approve a drug, FDA’s sole duty is to “protect the

public health by ensuring that … [the drug is] safe and effective.” 21 U.S.C.

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§393(b)(2). The FDCA specifies that FDA’s approval decision turns on whether

the applicant sufficiently showed the drug will be safe and effective under the

conditions of use described in the proposed label. See §355(b)(1)(A)(i), (d); Merck

Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1672 (2019); Mutual

Pharmaceutical, 570 U.S. at 476. Indeed, the statute enumerates five grounds for

denying an application once patent information is timely filed, all related to safety

and efficacy. See 21 U.S.C. §355(d).

      The REMS framework is similarly focused on safety and efficacy. The

statute requires the applicant to submit a proposed “risk evaluation and mitigation

strategy”—a REMS—if FDA “determines that a [REMS] is necessary to ensure

that the benefits of the drug outweigh the risks of the drug.” §355-1(a)(1).

Correspondingly, the statutorily defined factors FDA must consider in making such

a determination concern only the drug’s expected risks and benefits. See id.

      Nowhere does the FDCA indicate that Congress intended or authorized FDA

to consider whether the distribution of a drug might be restricted in some way

under laws administered by another governmental entity. Nor has FDA interpreted

the FDCA to permit that. Cf. 21 C.F.R. §314.125(b) (enumerating reasons for

denying applications); 21 C.F.R. §§314.500-.560. Therefore, FDA approval means

nothing with respect to the applicability of laws outside its purview.




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       FDA routinely and validly approves drugs that are subject to restrictions

under statutes or regulations that FDA does not administer; that is, non-FDCA

legal restrictions commonly coexist with FDA’s approval and do not preclude it.

As just one example, the Controlled Substances Act, enforced by the Attorney

General, makes it a crime to “knowingly or intentionally … manufacture,

distribute, or dispense, or possess … a controlled substance” under certain

circumstances. 21 U.S.C. §§811(a), 841(a)(1), 844(a). That prohibition applies to

many drugs that have been approved by FDA without invalidating those

approvals.3 Additionally, Congress allowed “state tort” law to apply sometimes to

FDA-approved drugs. Wyeth, 555 U.S. at 574-575. Nothing in the FDCA requires

FDA to canvass all potentially applicable restrictions imposed by laws it does not

administer when approving a new drug.

       Such a duty would also be impractical. FDA lacks the resources and

expertise to catalog and evaluate all the potentially applicable laws that it does not

administer to determine whether they might restrict the manufacture, distribution,

sale, prescription, dispensing, possession, or use of every drug it considers for

approval. That is particularly true for the Comstock laws, which had never been



3
      Most drugs subject to the Controlled Substances Act’s restrictions have “a
currently accepted medical use,” §812(b), including such FDA-approved drugs as
fentanyl, methadone, alprazolam (Xanax), zolpidem (Ambien), and diazepam
(Valium). 21 U.S.C. §812; see §§823, 841.

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enforced against mifepristone in the two decades it was on the market before

FDA’s 2021 actions. The district court’s failure to explain why FDA had to

consider the Comstock laws in its 2021 actions speaks volumes: there is no basis

for its unprecedented ruling.

      B.     Consistent With FDA’s Limited Authority, Its 2021 Actions Do
             Not Purport To Legalize The Distribution Of Mifepristone
             Through Means Covered By The Comstock Laws, However They
             Are Interpreted

      FDA’s 2021 actions conform to FDA’s limited statutory authority: they do

not purport to declare lawful the distribution of mifepristone in ways that might be

prohibited by the Comstock laws, even under the court’s incorrect interpretation.

The 2021 actions’ reference to “dispensing of mifepristone through the mail … or

through a mail-order pharmacy,” PI.App.066, merely expressed FDA’s

determination that such distribution would not undermine the safety or efficacy of

mifepristone, PI.App.714-715; see 21 C.F.R. §314.520 (allowing restrictions on

distribution if necessary to ensure safe use)—the only considerations FDA is

authorized to assess. That determination removed the FDCA’s barrier to interstate

distribution of mifepristone in specified ways, without claiming to limit

enforcement of other applicable restrictions.




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II.   FDA’S 2021 ACTIONS ARE CONSISTENT WITH THE COMSTOCK LAWS,
      HOWEVER INTERPRETED

      Even if FDA’s 2021 actions’ validity depended on their intersection with the

Comstock laws, the court’s invalidation of those actions would be erroneous

because those actions are consistent with the Comstock laws even under the district

court’s interpretation. Make no mistake: the court’s interpretation is gravely

incorrect; Congress intended the Comstock laws to prohibit only distribution

intended to produce unlawful abortions.

      Further, even under the court’s erroneous broad interpretation, the Comstock

laws still permit non-in-person distribution of mifepristone under some

circumstances.

      A.     FDA’s 2021 Actions Are Consistent With The Comstock Laws
             When Correctly Interpreted To Reach Only Distribution
             Intended To Produce Unlawful Abortion

      The court gravely erred in interpreting the Comstock laws so broadly.

Across three decades, four circuits carefully considered the meaning of the

Comstock laws and uniformly agreed, based on cogent reasoning, that Congress

intended the Comstock laws to reach the distribution of abortion-producing items

only if intended to produce unlawful abortions. See Bours v. United States, 229 F.

960, 964-965 (7th Cir. 1915); Youngs Rubber Corp. v. C.I. Lee & Co., 45 F.2d 103,

107-108 (2d Cir. 1930); Davis v. United States, 62 F.2d 473, 474-475 (6th Cir.

1933); United States v. One Package, 86 F.2d 737, 738-739 (2d Cir. 1936); United


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States v. Nicholas, 97 F.2d 510, 512 (2d Cir. 1938); Consumers Union of United

States v. Walker, 145 F.2d 33, 33, 35 (D.C. Cir. 1944). Their conclusion has been

decisively reinforced and adopted by Congress over the subsequent 75 years, in

which it repeatedly reenacted or amended the laws without alteration, while fully

aware of those circuit precedents. The proper construction of the Comstock laws

establishes a wide legal ambit for non-in-person distribution of mifepristone and

further confirms that FDA’s 2021 actions are consistent with the Comstock laws.

             1.     The Comstock laws’ text and structure require that it be read to
                    reach only distribution intended for unlawful abortions

      The district court asserted that the “plain text of the Comstock Act controls”

and that the “statute plainly does not require intent on the part of the seller that the

drugs be used unlawfully.” Op.34-35. But the court overlooked a critical facet of

the Comstock laws’ text: the relationship between §§1461-1462 and 19 U.S.C.

§1305, which prohibits the “import[ation]” of “any drug or medicine or any article

whatever for causing unlawful abortion,” §1305(a). Sections 1461-1462 must be

read with §1305(a)’s qualification. “[R]econciling many laws enacted over time,

and getting them to ‘make sense’ in combination,” is a “classic judicial task.”

United States v. Fausto, 484 U.S. 439, 453 (1988); see also King v. Burwell, 576

U.S. 473, 486, 497 (2015) (“Our duty … is to construe statutes, not isolated

provisions.” (cleaned up)). Here, the only way to get §§1461-1462 and §1305 to




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make sense in combination is to read §§1461-1462 to reach abortion items only

when intended to cause unlawful abortion.

      Even when a statute’s language is plain, “interpretations … which would

produce absurd results are to be avoided if alternative interpretations consistent

with the legislative purpose are available.” Griffin v. Oceanic Contractors, Inc.,

458 U.S. 564, 575 (1982); see also Hartford Underwriters Insurance Co. v. Union

Planters Bank, N.A., 530 U.S. 1, 6 (2000). Here, the court’s broad interpretation of

§§1461-1462 would create two absurdities. First, it would mean that an item

intended to cause lawful abortion could be imported lawfully under §1305(a) but

then could not be distributed under §§1461-1462, or at least not distributed through

the primary modes of interstate distribution for imported items. Second, and more

absurd, it would mean that an item intended to cause lawful abortion could be

imported lawfully under §1305(a) but then the importer could be punished

criminally for doing so under §1462, which prohibits not only the distribution of

abortion-producing items but also their importation (“Whoever brings into the

United States”).

      It makes no sense for Congress to allow importation of items for lawful

abortion, but prohibit their mailing or interstate distribution by common carrier for

that purpose once here. And for Congress to have created a trap where a person

could be convicted of a crime for an act that another provision of the U.S. Code


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expressly permits would both be absurd and raise a serious due process concern.

See, e.g., North Carolina v. Pearce, 395 U.S. 711, 738-739 (1969) (Black J.,

concurring) (“It [would be] impossible for citizens to know which one of the two

conflicting laws to follow, and would thus violate one of the first principles of due

process.”), overruled on other grounds by Alabama v. Smith, 490 U.S. 794 (1989).

Of course, “statutes should be read where possible to avoid unconstitutionality.”

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2276 (2022).

      These problems can be avoided by reading §§1461-1462 to mirror §1305,

i.e., to reach the distribution of items intended to produce abortion only if the

intended abortion would be unlawful. Indeed, Congress long ago stated that

§§1461-1462 and §1305 should be read “in conformity.” H.R. Rep. No. 71-7, at

160 (1929). Accordingly, the Supreme Court has interpreted the two sets of

provisions together. See, e.g., United States v. 12 200-Foot Reels of Super 8mm.

Film, 413 U.S. 123, 130 n.7 (1973) (giving the same meaning to words “used to

describe regulated material in 19 U.S.C. s 1305(a) and 18 U.S.C. s 1462”).

      Most pertinent, in One Package the Second Circuit—addressing the

provisions restricting the distribution of contraceptives and abortion items—found

it “hard to suppose” that Congress intended that “articles intended for use in

procuring abortions were prohibited in all cases” under §§1461-1462 but “only

prohibited when intended for use in an ‘unlawful abortion’” under §1305. 86 F.2d


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at 738-739. Concurring, Judge Learned Hand amplified the point: “[I]t is of

considerable importance that the law as to importations should be the same as that

as to the mails; we ought not impute differences of intention upon slight

distinctions in expression.” Id. at 740.

             2.     The history of §§1461-1462 shows that Congress intended them
                    to reach abortion items only if intended to produce unlawful
                    abortion

      It is well established that “‘[i]f a word or phrase has been given a uniform

interpretation by inferior courts, a later version of that act perpetuating the wording

is presumed to carry forward that interpretation.’” Texas Department of Housing

& Community Affairs v. Inclusive Communities Project, Inc., 576 U.S. 519, 536-

537 (2015) (ellipses omitted) (quoting Scalia & Garner, Reading Law: The

Interpretation of Legal Texts 322 (2012)); see also, e.g., Forest Grove School

District v. T.A., 557 U.S. 230, 239-240, 243 n.11 (2009); id. at 256 (Souter, J.,

dissenting, joined by Scalia and Thomas, JJ.); AMG Cap. Mgmt., LLC v. FTC, 141

S. Ct. 1341, 1351 (2021); Food Marketing Institute v. Argus Leader Media, 139 S.

Ct. 2356, 2365-2366 (2019); Helsinn Healthcare S.A. v. Teva Pharmaceuticals

USA, Inc., 139 S. Ct. 628, 633-634 (2019); Minerva Surgical, Inc. v. Hologic, Inc.,

141 S. Ct. 2298, 2315 (2021) (Barrett, J., joined by Thomas and Gorsuch, J.J.,

dissenting); id. at 2312-2313 (Alito, J., dissenting); Negusie v. Holder, 555 U.S.

511, 546-548 (2009) (Thomas, J., dissenting).



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      The history of §§1461-1462 also shows unequivocally that Congress

intended those provisions to reach abortion-producing items only if intended to

produce unlawful abortion. In 1948, Congress expressly acknowledged the prior

interpretation given to the Comstock laws and codified those provisions in §§1461-

1462 without material change. In the seventy-five years since, Congress has

repeatedly reenacted or amended §§1461-1462 still without touching the key

language.

                   a.       The district court ignored conclusive evidence that
                            Congress intended to limit the Comstock laws to items
                            intended to produce unlawful abortion

      The court ignored conclusive evidence that Congress intended §§1461-1462

to reach abortion items only if intended to produce unlawful abortion. In the

1940s, Congress undertook the project of recodifying federal criminal laws.

Through that project, Congress reenacted the longstanding provisions of the

Comstock laws addressing the distribution of abortion items via U.S. mail and the

importation and distribution of abortion items via common carrier in interstate

commerce as 18 U.S.C. §§1461-1462. See Pub. L. No. 80-772, 62 Stat. 683, 768-

769 (1948).

      Critically, Congress did so based on its understanding that the courts had

interpreted the language being reenacted to reach abortion items only if intended to

produce unlawful abortion, and without altering that language or otherwise



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rejecting the prior interpretation. The House Judiciary Committee’s 1947 report

accompanying the bill stated: “The attention of Congress is invited to the following

decisions of the Federal courts construing [proposed §1461] and section 1462.”

H.R. Rep. No. 80-304, at A104 (1947). The report proceeded to describe four of

the circuit cases to have addressed the meaning of the Comstock laws’ restrictions

on the distribution and importation of contraceptives and abortion items. First, the

report stated that in Youngs Rubber, the court said that the language “as used in

[proposed §1461] and section 1462 … is not to be construed literally, the more

reasonable interpretation being to construe the whole phrase ‘designed, adapted or

intended’ as requiring ‘an intent on the part of the sender that the article mailed or

shipped by common carrier be used for illegal contraception or abortion.’” H.R.

Rep. No. 80-304, at A105. Next, the report stated that in Nicholas, the court “held

that the importation or sending through the mails of contraceptive [or abortion]

articles is not forbidden absolutely, but only when such articles or publications are

unlawfully employed.” H.R. Rep. No. 80-304, at A105. Finally, the report added,

“The same rule was followed in” Davis and One Package. H.R. Rep. No. 80-304,

at A105.

      That Congress then reenacted the same language without material change

establishes that it intended to adopt the interpretation described in the House report

and accordingly intended §§1461-1462 to mean that the importation and


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distribution of items for producing abortion would be prohibited only if intended to

produce unlawful abortion. See, e.g., Ex parte Collett, 69 S. Ct. 944, 952 (1949)

(“flatly reject[ing]” argument that “Congress did not appreciate what it was

enacting” in light of similar note in legislative history).

                    b.     The Subsequent History of the Comstock Laws Confirms
                           That Congress Intended Them to Be Limited to Items
                           Intended to Produce Unlawful Abortion

      The subsequent dialog between Congress, the courts, and the executive

branch confirms that Congress intended §§1461-1462 to reach abortion items only

if intended for producing unlawful abortion.

      In 1950 and 1955, Congress revised §§1461-1462 while preserving the key

language—again foregoing an opportunity to depart from the prior understanding

identified in the 1947 House report. Pub. L. No. 81-531, §1, 64 Stat. 194, 194

(1950); Pub. L. No. 84-95, §§1-2, 69 Stat. 183, 183 (1955). In 1957, a federal

court remarked that “[t]he cases” interpreting §§1461-1462’s predecessors “held

… that only contraceptives [and abortion items] intended for ‘unlawful’ use were

banned.” United States v. 31 Photographs, 156 F. Supp. 350, 357 (S.D.N.Y. 1957)

(citing Bours, One Package, Nicholas, Youngs Rubber, Davis, Consumers Union).

The next year, Congress again revised §§1461-1462 while preserving the abortion-

related language. Pub. L. No. 85-796, §2, 72 Stat. 962, 962 (1958).




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      Reaffirmations continued. In 1960, a federal court stated: “[I]t is well

established that the defendants should not be convicted [under §§1461-1462]

unless it is established beyond a reasonable doubt that at the time they mailed the

sample packages of prophylactics that they intended them to ‘be used for illegal

contraception.’” United States v. H.L. Blake Co., 189 F. Supp. 930, 934-935

(W.D. Ark. 1960) (citing Bours, Nicholas, One Package, Youngs Rubber, and

Davis). In 1961, Justice Harlan issued an opinion noting the “judicial

interpretation … that the absolute prohibitions of the [Comstock] law … exclude

professional medical use.” Poe v. Ullman, 367 U.S. 497, 546 n.12 (1961) (Harlan,

J., dissenting). In 1962, another federal court stated: “It seems clear under the

authorities that in order to make out an offense under [§§1461-1462] the

Government should be required to allege and prove that … devices are shipped and

received with intent that they be used for illegal contraception or abortion.” United

States v. Gentile, 211 F. Supp. 383, 385 n.5 (D. Md. 1962).

      After those cases, Congress next took up §§1461-1462 in the early 1970s.

During that legislative process, the Postmaster General reported to Congress that

“the delivery by mail of contraceptive … materials has by court decisions, and

administrative rulings based on such decisions, been considered “proper in cases

where a lawful and present permissive purpose is present.” H.R. Rep. No. 91-

1105, at 3-4 (1970). On the heels of that report, Congress removed contraception


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from §§1461-1462 (partially in response to Griswold v. Connecticut, 381 U.S. 479

(1965)) but otherwise left the abortion-related language intact. Pub. L. No. 91-662,

§§3-4, 84 Stat. 1973, 1973 (1971).

      Then again in 1994 and 1996, Congress amended §§1461-1462 but did not

alter the abortion-related language. Violent Crime Control and Law Enforcement

Act, Pub. L. No. 103-322, 108 Stat 1796 (1994); Communications Decency Act,

Pub. L. No. 104-104, Title V, §507(a), 110 Stat. 56, 137 (1996). And in the

twenty-seven years since, Congress has not altered that language. Although some

of this history post-dates Roe v. Wade, 410 U.S. 113 (1973), and Planned

Parenthood of Southeast Pennsylvania v. Casey, 505 U.S. 833 (1992), it is

meaningful because, as the district court observed, those precedents “did not

prohibit all restrictions on abortions,” Op.38. Thus, the states could—and did—

permit constitutionally unprotected abortions, see, e.g., Oregon Rev. Stat.

§659.880; D.C. Code §2-1401.06 (repealed Feb. 23, 2023); New Jersey Stat.

§10:7-2; Colorado Rev. Stat. §25-6-403, and distributing items for producing

abortion in such states implicated the Comstock laws because those items could

have been used for abortions not protected by Roe and Casey. Op.38.

      In sum, the long history of courts and the executive recognizing the narrow

judicial interpretation of the Comstock laws and the documented congressional

awareness of that interpretation, followed by Congress’s numerous reenactments


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and amendments of the Comstock laws without material alteration, leaves no doubt

that Congress adopted that interpretation.

                   c.       The district court’s reasoning is thoroughly flawed

      The district court disagreed based on unsound reasoning.

      The court cited precedent stating that “[w]here the law is plain, subsequent

reenactment does not constitute an adoption of a previous administrative

construction.” Op.33 (cleaned up). That precedent does not support the court’s

conclusion for three reasons. First, as explained in Part II.B.1, consideration of

§1305 shows that the Comstock laws’ text does not have the plain meaning the

court believed and at worst is ambiguous. See King, 576 U.S. at 486 (“oftentimes

the meaning—or ambiguity—of certain words or phrases may only become

evident when placed in context”). Second, that precedent involved a very different

situation: “clear inconsistency” between the statute’s plain language and the prior

agency interpretation. Brown v. Gardner, 513 U.S. 115, 121-122 (1994)

(“congressional reenactment has no interpretive effect where regulations clearly

contradict requirements of statute” (cleaned up)); Demarest v. Manspeaker, 498

U.S. 184, 190 (1991) (“administrative interpretation” was “contrary to [statute’s]

plain” language”). Here, the proper interpretation of the Comstock laws—that it

applies only to distribution intended to produce unlawful abortion—accords with

the laws’ plain text. And third, Congress’s 1948 reenactment based on the 1947



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House report informing Congress how the courts had interpreted §§1461-1462

takes this case out of the ordinary situation of claimed implied congressional

ratification and establishes the specific meaning that Congress intended.

      The district court also cast doubt on the possibility of inferring Congress’s

intent from its reenactment of previously interpreted language, hypothesizing that

reenactments could be motivated by other reasons, such as counteracting a

“sunset” provision, laziness, or inattention. Op.34 (citing Nelson, Statutory

Interpretation 481 (2011)). The court’s cherrypicked academic sources certainly

do not supersede the Supreme Court precedent noted above recognizing that

Congress may adopt a prior interpretation by reenacting the text. In any event, it is

implausible to think Congress retained language that had been widely subjected to

a particular interpretation for nearly 100 years without ever altering that language,

while amending the same provisions seven times, yet did not intend to ratify that

interpretation. And the notion that Congress did not intend to adopt the narrow

interpretation is inconceivable given that Congress was specifically aware of that

interpretation and reenacted the language anyway in 1948.

      Further, the court’s rejection of a settled judicial “consensus” about how to

interpret §§1461-1462 is also misguided. First, however one might read the

relevant Comstock cases, the fact is that, as described above, the 1947 House

report gave the cases a consistent reading: §§1461-1462 reach abortion items


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“only” when intended to be used to produce “unlawful” or “illegal” abortion. H.R.

Rep. No. 80-304, at A104-A105. That is the understanding on which Congress

enacted §§1461-1462 in 1948 and thus that is the meaning Congress intended

those provisions to have.

      Second, there actually was a clear judicial consensus. The district court read

Davis and One Package to exclude from the Comstock laws “legitimate” or

“moral” uses, not “lawful” ones. Op.37. But as One Package made clear, these

are equivalent concepts in context. The Second Circuit explained that Bours

interpreted the Comstock laws not to reach distribution for medically appropriate

use despite the absence of the word “unlawful” in the statute; that Youngs Rubber

interpreted the Comstock laws “in the same way,” i.e., to exclude items intended

for “legitimate use” or not for “illegal uses”; and that Youngs Rubber and Davis,

which “relied on” Youngs Rubber, interpreted the Comstock laws to exclude items

“not intended for an immoral purpose.” 86 F.2d at 738-739. One Package

summarized all these cases together as “read[ing] an exemption into the act

covering such articles even where the word ‘unlawful’ is not used.” Id. at 739.

And accordingly, One Package expressly stated that an “exception” for “[]lawful”

uses “should apply to articles for preventing conception” or producing abortion—

consistent with its view that §§1461-1462 should be read in conformity with

§1305. Id.; see supra II.B.1. The same court subsequently reiterated that it had


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“twice decided that … statutes prohibiting [contraceptives and abortion items]

should be read as forbidding them only when unlawfully employed”—and cited

Davis as consonant with those decisions. Nicholas, 97 F.2d at 512.

       Relatedly, the district court suggested that there were too few judicial

decisions to establish the requisite consensus for implied ratification. See Op.33

n.28. But there were six decisions from four circuits issued over thirty years—

Bours (7th), Youngs Rubber, One Package, Nicholas (2d), Davis (6th), and

Consumers Union (D.C.), the last of which the district court ignored—plus a host

of later judicial opinions recognizing that consensus, see supra p.8-9. Contrary to

the district court’s academic source, Supreme Court precedent makes clear that

four circuits suffices. See Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich

LPA, 559 U.S. 573, 590 (2010) (“no reason to suppose that Congress disagreed

with [three circuits’] interpretations when it enacted” statute”); cf. Jama v.

Immigration & Customs Enforcement, 543 U.S. 335, 351 (2005) (decision by two

circuits insufficient).

       Finally, the district court asserted that “the legislative history” of the

Comstock laws “supports” its broad interpretation. Op.35. The court pointed to an

“unsuccessful[]” attempt by a congressional subcommittee in 1970 to insert

“illegal” into the Comstock laws and the accompanying subcommittee report

stating that “current law” was not limited to distribution of items intended to


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produce illegal abortion. Op.35-36. Never-enacted bills and statements by

legislators on the meaning of previously enacted laws “should not be taken

seriously, not even in a footnote.” Sullivan v. Finkelstein, 496 U.S. 617, 632

(1990) (Scalia, J., concurring). Such sources are not legislative history at all and

“offer[] a particularly dangerous basis on which to rest an interpretation of an

existing law a different and earlier Congress did adopt.” Bostock v. Clayton

County, 140 S. Ct. 1731, 1747 (2020) (cleaned up). Certainly, such an effort by a

subcommittee cannot overcome the voluminous contrary evidence that Congress

intended the Comstock laws to reach only items intended for unlawful abortion—

particularly since the subcommittee did not even address the 1948 reenactment.

             3.     Under the rule of lenity, any doubt should be resolved in favor
                    of the narrow interpretation

      If there were any remaining doubt about the meaning of the Comstock laws,

the constitutionally based rule of lenity would require that they be interpreted

narrowly to reach the distribution of abortion items only if intend to produce

unlawful abortion. See, e.g., Wooden v. United States, 142 S. Ct. 1063, 1081

(2022) (Gorsuch, J., concurring); id. at 1074-1075 (Sotomayor, J., concurring).

Although this case is not a criminal prosecution (the typical context for applying

the rule of lenity), the interpretation of a criminal statute here could impact future

criminal defendants.




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       B.    FDA’s 2021 Actions Are Also Consistent With The Comstock
             Laws Under The Court’s Incorrect Interpretation

       Even under the district court’s grievously erroneous interpretation of the

Comstock laws, however, not all non-in-person dispensing of mifepristone would

be foreclosed, and therefore FDA’s 2021 actions would still be consistent with the

Comstock laws.

       First, the Comstock laws prohibit the distribution of certain items by

common carrier only if “in interstate or foreign commerce,” 18 U.S.C. §1462; they

do not prohibit distribution within a state. Second, the Comstock laws prohibit

distribution in interstate commerce only by a “common carrier” or the U.S. Postal

Service, §§1461-1462; they do not prohibit interstate distribution by proprietary or

contract carriers, or by private non-commercial carriers (e.g., the prescriber or a

prescriber’s employee). 4

       These limits on the Comstock laws’ prohibitions, even as broadly interpreted

by the district court, leave room for FDA’s 2021 elimination of the in-person

dispensing requirements, since mifepristone could still be distributed in various

ways not even arguably covered by the Comstock laws.


4
       On the difference between common carriers and other types of carriers, see,
e.g., 48 C.F.R. §47.001; Maislin Industries, United States, Inc. v. Primary Steel,
Inc., 497 U.S. 116, 133 (1990); The Fri, 154 F. 333, 338 (2d Cir. 1907);
Stephenson v. Binford, 287 U.S. 251, 265-266 (1932); Contract Carriage by
Common Carriers Under the Shipping Act of 1916, 70 Yale L.J. 1184, 1185
(1961).

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                                 CONCLUSION

      The Court should stay the District Court’s decision pending appeal.


                                          Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This amicus brief supporting appellants’ motions contains 5,197 words,

excluding the parts of the brief exempted by rule. This filing complies with the

typeface requirements of Rule 32(a)(5) and the type-style requirements of Rule

32(a)(6) because it has been prepared in a proportionally spaced typeface (14-point

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April 11, 2023
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of April 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for

the Fifth Circuit using the appellate CM/ECF system. Counsel for all parties to the

case are registered CM/ECF users and will be served by the appellate CM/ECF

system.



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April 11, 2023
